
34 N.Y.2d 717 (1974)
In the Matter of the Arbitration between Thomas Ganser et al., Appellants, and New York Telephone Company, Respondent. American Arbitration Association, Respondent.
Court of Appeals of the State of New York.
Argued March 27, 1974.
Decided May 2, 1974.
Joseph S. Kaming for appellants.
Saul Scheier, George E. Ashley, William P. Witman and Bernard Yaker for New York Telephone Company, respondent.
Concur: Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER, RABIN and STEVENS.
Order affirmed, with costs; no opinion.
